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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §       CRIMINAL NUMBER 22cr295 (CKK)
                                                 §
NEIL ASHCRAFT                                    §

             MOTION FOR EXTENSION OF TIME TO SELF-SURRENDER


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW the Defendant, NEIL ASHCRAFT, by and through undersigned counsel

and files this Motion for Extension of Time to Self-Surrender. In support of said motion, Defendant

would show unto the Court as follows:

                                                 I.

       Sentencing in this case was held on March 8, 2023, before the Honorable Colleen Kollar-

Kotelly. Mr. Ashcraft was sentenced to a term of 80 days in the Bureau of Prisons with a self-

surrender date of May 22, 2023.

                                                II.

       Mr. Ashcraft is requesting that his self-surrender date be extended to May 29, 2023. Mr.

Ashcraft would like to be present for his son’s graduation, which is scheduled for May 23, 2023.

At sentencing, the Court was inclined to set his report date after the graduation, but undersigned

counsel mistakenly gave the Court the incorrect graduation date at the sentencing hearing.

Additionally, following his son’s graduation, his son will be moving home to Oklahoma and Mr.

Ashcraft would like to assist his son in that move. This one week extension will allow Mr. Ashcraft

to attend the graduation and get his son safely relocated before reporting to begin his sentence.




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                                               III.

       This Motion for Extension is not made for purposes of delay, but only in order that justice

may be done. This matter comes before the Court upon the request of the Defendant, Neil Ashcraft.

       WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully requests this

Honorable Court to grant this Motion for Extension of Time to Self-Surrender currently scheduled

for May 22, 2023, and extend his self-surrender date to May 29, 2023.


                                                      Respectfully submitted,

                                                      WHALEN LAW OFFICE

                                                      /s/ Ryne T. Sandel
                                                      RYNE T. SANDEL
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                                                      COUNSEL FOR DEFENDANT
                                                      NEIL ASHCRAFT




_____________________________________________________________________
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                            CERTIFICATE OF CONFERENCE

       This is to certify that on the 17 day of April 2023, undersigned counsel’s Senior Paralegal,

Diana Wilson, contacted the Assistant United States Attorney in charge of this case, Michael

Gordon, who stated that the Government does not oppose this motion.


                                                     /s/ Ryne T. Sandel
                                                     RYNE T. SANDEL




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing motion was delivered to

Michael Gordon, the Assistant United States Attorney in charge of this case, and counsel for co-

defendants, via CM/ECF, on this the 18th day of April 2023.


                                                     /s/ Ryne T. Sandel
                                                     RYNE T. SANDEL




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